239 F.3d 1366 (Fed. Cir. 2001)
    SEA-LAND SERVICE, INC., (now known as SL Service Inc.), Plaintiff-Appellant,  andAMERICAN PRESIDENT LINES, LTD., (now known as American Ship Management, LLC),Plaintiff-Appellant,v.UNITED STATES, Defendant-Appellee.United States Court of Appeals for the Federal Circuit
    00-1047
    DECIDED: February 16, 2001
    
      Appealed from: U.S. Court of International Trade Evelyn M. Suarez, Sonnenschein, Nath &amp; Rosenthal, of Washington, DC, argued for plaintiff-appellant. With her on the brief was Myles J. Ambrose, Arter &amp; Hadden LLP, of Washington, DC. Also on the brief for American Ship Management, LLC, was Charles Routh, Garvey, Schubert &amp; Barer, of Seattle, Washington. Of counsel was Marc Richard Baluda, Arter &amp; Hadden, LLP, of Washington, DC.
      Barbara S. Williams, Attorney, Commercial Litigation Branch, Civil Division, International Trade Field Office, Department of Justice, of New York, New York, argued for defendant-appellee. With her on the brief were David M. Cohen, Director, Commercial Litigation Branch, of Washington, DC; and Joseph I. Liebman, Attorney in Charge, International Trade Field Office, of New York, New York. Of counsel on the brief is Karen P. Binder, Office of Assistant Chief Counsel, International Trade Litigation, U.S. Customs Service, of New York, New York.
      Lauren R. Howard, Collier, Shannon, Rill &amp; Scott, PLLC, of Washington, DC, argued for amicus curiae Shipbuilders Council of America, Inc.
      Before SCHALL, BRYSON, and LINN, Circuit Judges.
      SCHALL, Circuit Judge.
    
    
      1
      Under 19 U.S.C. § 1466(a),1 a duty is imposed on the expenses of  repairs on United States vessels in foreign shipyards. In Texaco Marine  Services, Inc. v. United States, 44 F.3d 1539, 1543-44 (Fed. Cir. 1994), we  held that dutiable expenses under § 1466(a) include all expenses that would  not have been incurred "but for" the vessel's repairs. In this case, Sea-  Land Service, Inc. and American President Lines, LTD, now known as American  Ship Management, LLC (referred to collectively as "Sea-Land"), incurred  repair expenses on United States vessels in foreign shipyards with respect  to which the United States Customs Service ("Customs") assessed duties  pursuant to § 1466(a), following the "but for" test articulated in Texaco.  Sea-Land protested the assessments. Following Customs' denial of the  protests, Sea-Land appealed to the United States Court of International  Trade. In its appeal, Sea-Land argued that the assessments were unlawful  because, in denying its protests, Customs had violated 19 U.S.C. § 1625(c)  by failing to publish the denials in the Customs Bulletin and Decisions  ("Customs Bulletin") and by failing to provide for notice and comment with  respect to the rulings on the assessments. Sea-Land argued that such  actions were required because the denials of its protests amounted to  interpretative rulings or decisions by Customs that modified, revoked, or  had the effect of modifying or revoking earlier rulings or decisions that  predated Texaco, thus bringing into play the notice and comment  requirements of § 1625(c). In due course, Sea-Land and the United States  moved for summary judgment. The court denied Sea-Land's motion, but granted  that of the United States, concluding that Customs' actions in the case did  not trigger the notice and comment requirements of § 1625(c). Sea-Land  Serv., Inc. v. United States, 69 F. Supp. 2d 1371 (Ct. Int'l Trade 1999).  We affirm.
    
    BACKGROUND
    I.
    
      2
      Section 1466(a) provides, in relevant part:
    
    
      3
      The equipments, or any part thereof, including boats, purchased for, or the repair parts or materials to be used, or the expenses of repairs made in a foreign country upon a vessel documented under the laws of the United States to engage in the foreign or coasting trade, or a vessel intended to be employed in such trade, shall, on the first arrival of such vessel in any port of the United States, be liable to entry and the payment of an ad valorem duty of 50 per centum on the cost thereof in such foreign country. . . . For the purposes of this section, compensation paid to members of the regular crew of such vessel in connection with the installation of any such equipments or any part thereof, or the making of repairs, in a foreign country, shall not be included in the cost of such equipment or part thereof, or of such repairs.
    
    
      4
      Under the statute, a fifty percent duty is imposed "on the value of  `expenses of repairs' made in a foreign country upon United States-flagged  vessels." Texaco, 44 F.3d at 1540. Section 1466(a) provides that if the  expenses incurred in a foreign port are not the "expenses of repairs"  described in the statute, then the expenses are not subject to the fifty  percent duty. Id. at 1540-41.
    
    
      5
      In Texaco, we were asked to review a Court of International Trade decision  affirming Customs' determination that certain cleaning and equipment  protective covering expenses incurred by a United States vessel in a  foreign port were "expenses of repairs" under § 1466(a) and thus dutiable.  Id. at 1540. The specific expenses at issue were expenses associated with  clean-up following boiler room, cargo tank, and "after peak" tank repairs  and expenses associated with protective coverings used during cargo tank  repairs. Id. at 1541-52. In reviewing the Court of International Trade's  decision, we first interpreted "expenses of repairs" under § 1466(a) to  mean those repair expenses that would not have been incurred "but for" the  repair work. Id. at 1544-45. In coming to this conclusion, we rejected  earlier, more restrictive definitions of "expenses of repairs" by the Court  of International Trade and the United States Customs Court. Id. at 1546-47.  We then applied the "but for" approach under § 1466(a) to the expenses at  issue and found that both the clean-up expenses, id. at 1548-50, and the  expenses associated with the protective coverings, id. at 1550, were  expenses that would not have been incurred "but for" the vessel repairs.  Therefore, we agreed with the Court of International Trade that Customs  properly determined that those vessel repair expenses were dutiable under §  1466(a).
    
    II.
    
      6
      We issued our Texaco decision on December 29, 1994. Shortly thereafter, on  January 18, 1995, the Assistant Commissioner for Customs Office of  Regulations and Rulings ("Assistant Commissioner") issued Headquarters  ("HQ") memorandum 113308 to Customs' New Orleans Regional Director. The HQ  memorandum was later published in the Customs Bulletin. HQ memorandum  113308 stated that the "but for" test for dutiable expenses of repair under  § 1466(a) described in Texaco had "wide-ranging ramifications with respect  to Customs' liquidation of vessel repair entries." In the memorandum, it  was noted that certain expenses that Customs currently did not consider  "expenses of repairs" under 19 U.S.C. § 1466(a), such as travel or  transportation, would, under certain circumstances, "undoubtedly constitute  dutiable `expenses of repairs' under the `but for' test" set forth in  Texaco. The HQ memorandum stated that all costs not finally liquidated as  of the date of Texaco "should be liquidated as dutiable as `expenses of  repairs' provided they pass the `but for' test discussed above."
    
    
      7
      Sea-Land declared and entered vessel repair expenses with Customs from  January 1995 through March 1996. The expenses involved work performed on  several United States-flagged vessels by foreign labor. The expenses listed  in the entries included expenses associated with transportation, travel,  equipment rental, meals, administrative insurance, and tax costs.
    
    
      8
      Representatives of Sea-Land met with Customs officials on February 22,  1995, to discuss the ramifications of the Texaco decision, HQ memorandum  113308, and their belief that Customs needed to comply with the notice and  comment requirements of 19 U.S.C. § 1625(c) with respect to any rulings  concerning the 1995-1996 repair expenses. On March 3, 1995, the Assistant  Commissioner issued HQ memorandum 113350, which was subsequently published,  modifying HQ memorandum 113308.2 The new HQ memorandum provided  that, instead of applying the "but for" test described in Texaco to all  vessel repair expenses unliquidated at the time of the Texaco decision,  Customs would only apply the test prospectively to entries filed after the  date of the decision. The only exception to this rule was that the "but  for" test would apply to unliquidated vessel repair expenses of the kind  that were specifically at issue in Texaco, cleaning and protective covering  expenses.
    
    
      9
      Customs then proceeded to examine each of Sea-Land's vessel repair expense  entries, finding that some, but not all, of the entered expenses satisfied  the "but for" test and were thus dutiable under § 1466(a). Sea-Land paid  the liquidated duties on the applicable vessel repair entries and then  filed administrative protests with Customs concerning the liquidations.  After Customs' denial of the protests and further requests for review, Sea-  Land appealed to the Court of International Trade seeking to recover the  duties assessed by Customs under § 1466(a).
    
    III.
    
      10
      Before the Court of International Trade, the parties stipulated to the  pertinent facts. First, they agreed that, prior to Texaco, Customs had  issued certain HQ rulings regarding the assessment of duties under §  1466(a) that had not been revoked, rescinded, or amended. Sea-Land, 69 F.  Supp. 2d at 1375. The parties also agreed that these earlier HQ rulings  involved duties on one or more of the expenses that were the subject of  Sea-Land's protests. Id. In addition, the parties agreed that none of the  duties under protest involved cleaning or protective covering expenses  similar to those disputed in Texaco. Id. Finally, Sea-Land and the  government stipulated that "some of the protests relate to duty assessed to  certain items on a pro rata basis apportioned by Customs to reflect what  Customs alleges are dutiable and nondutiable foreign costs of an entry."  Id.
    
    
      11
      With the above stipulation forming a backdrop, the parties cross-moved for  summary judgment. In that setting, Sea-Land made three basic arguments.  First, it argued that Customs had not actually applied the "but for"  analysis to each of the expenses at issue. Id. at 1376. The Court of  International Trade rejected this argument, concluding that Customs had  conducted "a case-by-case `but for' analysis for each expense at issue."  Id. The court cited HQ memorandum 113308's instruction to evaluate each  vessel repair entry under the "but for" standard as support for its  conclusion. Id.
    
    
      12
      Sea-Land also argued that Texaco required that Customs determine whether  assessing duties on a particular vessel repair expense runs counter to an  established and uniform practice ("EUP")3 of non-dutiability  with respect to that expense. Id. at 1377. Sea-Land asserted that Customs'  decision on its expenses changed various EUP's and that, consequently,  Customs was required to comply with the notice requirement of 19 U.S.C. §  1315(d)4 before any duties could be assessed. Id. at 1377-78.  Addressing this contention, the Court of International Trade reasoned that  the notice requirement of 19 U.S.C. § 1315(d) did not apply because it was  this court's holding in Texaco, not an "administrative ruling" as required  by § 1315(d), that impacted the assessment of duties on Sea-Land's vessel  repair expenses. Id. at 1379-80. The court therefore rejected Sea-Land's  second argument.
    
    
      13
      Finally, Sea-Land argued that Customs had violated 19 U.S.C. § 1625(c) by  issuing protest review decisions that modified or revoked prior Customs  "interpretative rulings or decisions" without providing the required notice  and comment period described in § 1625(c). Id. at 1380. The Court of  International Trade concluded, however, that this court's decision in  Texaco, not a Customs ruling, had established the statutory interpretation  that modified or revoked previous Customs decisions, and that the notice  and comment requirements of § 1625(c) thus did not apply. Id. at 1381. The  court also concluded that a notice and comment period under § 1625(c) would  serve no purpose because Customs was bound by this court's decision in  Texaco. Id. at 1381-82. Consequently, it had no discretion or ability to  modify the decision; it therefore would be unable to respond to any  comments it received. Id. Having rejected all of Sea-Land's arguments, the  court granted summary judgment in favor of the government.
    
    
      14
      Sea-Land appeals the Court of International Trade's decision. We have  jurisdiction over the appeal pursuant to 28 U.S.C. § 1295(a)(5).
    
    DISCUSSION
    I.
    
      15
      Summary judgment is proper by the United States Court of International  Trade when "there is no genuine issue as to any material fact and that the  moving party is entitled to a judgment as a matter of law." Ct. Int'l Trade  R. 56(d). We review a grant of summary judgment by the Court of  International Trade "for correctness as a matter of law, deciding de novo  the proper interpretation of the governing statute and regulations as well  as whether genuine issues of material fact exist."5 Guess?, Inc.  v. United States, 944 F.2d 855, 857 (Fed. Cir. 1991). On appeal, Sea-Land  does not challenge Customs' application of the "but for" test under §  1466(a) to its vessel repair expense entries or the Court of International  Trade's ruling on 19 U.S.C. § 1315(d). Rather, it contends that Customs was  required to comply with the notice and comment requirements of 19 U.S.C. §  1625(c) when it determined that the vessel repair expenses at issue were  dutiable under 19 U.S.C. § 1466(a).
    
    
      16
      As it did in the Court of International Trade, Sea-Land argues that  Customs' determination that certain vessel repair expenses were dutiable  expenses under § 1466(a) and its denial of Sea-Land's protests were  "interpretative ruling[s] or decision[s]" under § 1625(c). Sea-Land  contends that these interpretative rulings or decisions by Customs  modified, revoked, or had the effect of modifying earlier rulings or  decisions by Customs that the vessel repair expenses at issue were not  dutiable under § 1466(a). Sea-Land argues that since Customs' assessment of  duties against it involved interpretative rulings or decisions that  modified or revoked earlier Customs rulings or decisions, Customs was  required by § 1625(c) to provide notice and comment before liquidating Sea-  Land's vessel repair expense entries. Sea-Land argues that Texaco did not  revoke Customs' prior rulings or decisions regarding the dutiability of  specific vessel repair expenses at issue because it did not address whether  the expenses at issue in this case were dutiable. Sea-Land acknowledges  that Texaco established the "but for" test for determining which expenses  are dutiable under § 1466(a), but asserts that the Texaco court only  decided, under the "but for" test, that cleaning and protective covering  expenses were dutiable.
    
    
      17
      The government responds that § 1625(c) does not apply to Customs' actions  in this case because Customs did not issue any "interpretative ruling[s] or  decision[s]." The government also argues that this court in Texaco, not  Customs, modified or revoked any existing rulings or decisions involving  the particular expenses at issue because this court in Texaco, not Customs,  established the "but for" test under § 1466(a). The government also argues  that any change in Customs' treatment of particular vessel repair expenses  was a change mandated by Texaco that Customs properly followed in this case  by applying the "but for" test to Sea-Land's vessel repair expense entries.
    
    
      18
      For the reasons that follow, we reject Sea-Land's arguments and conclude  that Customs' actions in this case did not trigger the notice and comment  requirements of 19 U.S.C. § 1625(c).
    
    II.
    
      19
      Entitled "Modification and revocation," 19 U.S.C. § 1625(c) states that:
    
    
      20
      A proposed interpretive ruling or decision which would-
    
    
      21
      (1) modify (other than to correct a clerical error) or revoke a prior interpretive ruling or decision which has been in effect for at least 60 days; or
    
    
      22
      (2) have the effect of modifying the treatment previously accorded by the Customs Service to substantially identical transactions;
    
    
      23
      shall be published in the Customs Bulletin. The Secretary shall give interested parties an opportunity to submit, during not less than the 30-day period after the date of such publication, comments on the correctness of the proposed ruling or decision. After consideration of any comments received, the Secretary shall publish a final ruling or decision in the Customs Bulletin within 30 days after the closing of the comment period. The final ruling or decision shall become effective 60 days after the date of its publication.
    
    
      24
      Section 1625(c) mandates that Customs provide notice and comment under  specific circumstances. First, § 1625(c) only applies to a "proposed  interpretive ruling or decision" by Customs. Id. Second, the proposed  interpretive ruling or decision must either modify or revoke a prior ruling  or decision or have the effect of modifying Customs' previous treatment of  "substantially identical transactions." Id. Section 1625(c) requires that,  before Customs issues such an interpretative ruling or decision, it publish  it and allow interested parties an opportunity to comment on its  correctness. Id. The statute instructs Customs to consider the comments it  receives. Id. Section 1625(c) then provides that the final ruling or  decision will become effective 60 days after its publication. Id.
    
    III.
    
      25
      For purposes of this appeal, we will assume, without deciding, that the  first requirement of § 1625(c) is met-that Customs' actions with respect to  Sea-Land's vessel repair expense entries are "interpretative ruling[s] or  decision[s]" under § 1625(c). Sea-Land's argument fails, however, because  the second requirement of § 1625(c) is not met. The reason is that Customs'  "interpretative ruling[s] or decision[s]" in this case did not modify,  revoke, or have the effect of modifying earlier Customs interpretative  rulings, decisions, or treatment of substantially identical vessel repair  expenses under § 1466(a). Before Customs' actions in this case, this  court's decision in Texaco in late 1994 had the effect of modifying all of  Customs previous rulings, decisions, and treatment of vessel repair  expenses under § 1466(a). Since Customs' actions do not meet the second  condition under § 1625(c), the notice and comment requirements described in  § 1625(c) were not triggered.
    
    
      26
      It was this court in Texaco that modified the treatment of vessel repair  expenses under § 1466(a). We "clarif[ied]" the judicial interpretation of  19 U.S.C. § 1466(a) in Texaco, explaining that, based on the plain language  of the statute, "expenses of repairs" in § 1466(a) meant those expenses  that would not have been incurred "but for" the ship's repair. Texaco, 44  F.3d at 1546. With this explicit interpretation of § 1466(a), Texaco wiped  the slate of decisions under § 1466(a) clean, requiring the dutiability of  all vessel repair expenses to be determined by the "but for" test. Customs  is required to follow and apply the "but for" test. See Chevron, U.S.A.,  Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 843 n.9 (1984)  (noting that "[t]he judiciary is the final authority on issues of statutory  construction" and that when a "court, employing traditional tools of  statutory construction, ascertains that Congress had an intention on the  precise question at issue, that intention is the law and must be given  effect"). Any decision by Customs after Texaco is a decision under the new,  clarified standards for determining what expenses under § 1466(a) are  dutiable. Since this court, through its decision in Texaco, changed  Customs' earlier treatment of vessel repair expenses under § 1466(a),  Customs' actions after Texaco cannot be recognized as rulings or decisions  that revoke or modify Customs' earlier decisions under § 1466(a).  Furthermore, Customs, required to act under this court's interpretation of  § 1466(a), cannot be said to be the one changing any of its previous  decisions; our decision in Texaco created those changes.
    
    
      27
      Sea-Land is correct that Texaco did not apply the "but for" test to the  particular expenses at issue in this case. As noted above, Texaco only  dealt with the application of the "but for" test to two types of vessel  repair expenses-cleaning and protective covering costs. Texaco, 44 F.3d  1548-50. However, when Customs deviates from its prior practice when  evaluating a vessel repair expense after Texaco to determine whether that  expense meets the "but for" test, Customs is following the new rules  established by this court. Again, any change in Customs' treatment of a  particular expense is the doing of our decision in Texaco, not a decision  by Customs. In effect, in making the decisions it made regarding Sea-Land's  expenses after Texaco, Customs was deciding vessel repair expense issues  for the first time under the "new" interpretation of § 1466(a) set forth in  Texaco. Thus, Customs' decisions cannot be considered to be modifications  of Customs' earlier treatment of those expenses, because, in essence, there  was no previous treatment under the "new" interpretation of § 1466(a).
    
    
      28
      Our holding that our decision in Texaco, and not Customs' decisions  regarding each of Sea-Land's expenses, modified Customs' earlier treatment  of all vessel repair expenses under § 1466(a) is supported by the policy  and purpose behind § 1625(c). The legislative history of § 1625(c)  indicates that the statute's purpose is to provide "assurances of  transparency concerning Customs rulings and policy directives through  publication" of Customs' rulings or decisions that modify or revoke an  existing ruling or decision. H.R. Rep. No. 103-361, at 124 (1993),  reprinted in 1993 U.S.C.C.A.N. 2551, 2674. Section 1625(c)'s notice and  comment requirements are intended to ensure that the interested public has  notice of a proposed change in Customs' policy and to allow the public to  make comments on the appropriateness of the change and to modify any  current practices that were based in reliance on Customs' earlier policy.  Section 1625(c) also provides for Customs to make an informed decision when  changing its policies through the comments it receives.
    
    
      29
      Since it was our decision in Texaco, not Customs' later actions in this  case, that changed Customs' policy towards dutiability of vessel repair  expenses under § 1466(a), the policy reasons for notice and comment  embedded in § 1625(c) do not apply. The interested public was given notice  of the modification in the way vessel repair expenses would be determined  to be dutiable under § 1466(a) by way of the publication of this court's  decision in Texaco. Furthermore, although Customs' individual evaluation on  certain expenses may represent the first time that specific expenses are handled differently, the new approach was not brought on by the will of  Customs, but by the decision in Texaco, a decision of which the public was  notified. Additionally, comments from the interested public on Customs'  actions under these circumstances are not helpful because Customs is merely  implementing this court's interpretation of § 1466(a), an interpretation  that, as noted above, Customs is required to follow. Notably, 19 U.S.C. §  1625(d) calls for notice and comment when Customs "proposes to limit the  application of a court decision," something which Customs is not doing in  this case with regards to Texaco, as can be seen in HQ memorandum 113308.  Put simply, since Customs' change in the way it approached vessel repair  expenses under § 1466(a) was mandated by our decision in Texaco, not a  self-proposed change by Customs, requiring notice and comment in this case  would not serve the purpose and policy behind § 1625(c).
    
    CONCLUSION
    
      30
      For the foregoing reasons, the decision of the Court of International Trade  is
    
    
      31
      AFFIRMED.
    
    
      32
      Each party shall bear its own costs.
    
    
      
        Notes:
      
      
        1
         All  statutory  references  are  to  the 1994 version  of  the United States Code, as modified by Supplement IVhe 1994 of 1998.
      
      
        2
         Customs  also  published the full text of the Texaco decision.
      
      
        3
         The  term  "EUP"   is   used  to  describe  a classification  and  liquidation  of a particular good by Customs  to  describe  a that is both established and uniform.   In  previous  cases, this  to  describe  a court  has looked for "evidence of uniform classification  and to describe  a liquidation  of  merchandise  at  various  ports over an extendednd to describe  a period of time" to establish an EUP.  Heraeus-Amersil,  Inc.  v.escribe  a United States, 795 F.2d 1575, 1581 (Fed. Cir. 1986).
      
      
        4
         Section  1315(d) prohibits an "administrativebe  a ruling that results in the imposition of a higher rate of duty or charge than . . . [has] been applicable  to  imported merchandise under an established and uniform practice"  from  being effectivetrativebe  a until  30  days  after  publication  of the ruling in the Federalctivetrativebe  a Register.  19 U.S.C. § 1315(d); see  also  Hemscheidt   Corp.  v. a United  States,  72  F.3d  868, 870 (Fed. Cir. 1995) (noting that  Corp.  v. a § 1315(d) "on its face  bars the levy and collection of increases.  v. a in duties when an established and uniform  practice exists taxing increases.  v. a the particular imported goods at a lower rate,  unless the higher increases.  v. a rate has been fixed by an administrative ruling,  notice of which increases.  v. a has been given").
      
      
        5
         As noted above, Sea-Land  and  the governmentses.  v. a stipulated  to  the pertinent facts for purposes of their summaryernmentses.  v. a judgment motions.
      
    
    